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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
  __________________________________________
  WENGUI GUO
  a/k/a MILES KWOK                           Civil Action No.:

                                Plaintiff,
         v.

  THE MCCLATCHY COMPANY,
  MARTA OLIVER CRAVIATTO, and
  SARAH BLASKEY

                          Defendants.
  ___________________________________________

         Plaintiff, Guo Wengui a/k/a Miles Kwok (“Guo” or “Plaintiff”), for his complaint and

  action for money damages against Defendants The McClatchy Company, Marta Oliver

  Craviatto, and Sarah Blaskey, alleges as follows:

                                             PARTIES

         1.      Plaintiff Guo is a Hong Kong citizen currently residing in New York, New York.

  Plaintiff left China at the end of 2014 and is currently seeking political asylum in the United

  States. Guo has been a longstanding critic of corruption within elements of the Chinese

  government and a leading advocate for government reform in China.

         2.      Upon information and belief, Defendant The McClatchey Company (hereinafter,

  “McClatchey”) is a publicly traded publishing company, incorporated in Delaware, operating

  within the state of Florida, with offices in Doral, Florida from which it produces and distributes

  the Miami Herald newspaper.

         3.      Defendant Marta Oliver Craviatto is a reporter for the Miami Herald which is

  owned and operated by Defendant McClatchey.
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         4.      Upon information and belief, Defendant Craviatto is an employee of Defendant

  McClatchey.

         5.      Defendant Sarah Blaskey is a reporter for the Miami Herald which is owned and

  operated by Defendant McClatchey.

         6.      Upon information and belief, Defendant Blaskey is an employee of Defendant

  McClatchey.

                                      JURISDICTION AND VENUE

         7.      This Court has diversity jurisdiction over this matter because Plaintiff is a foreign

  citizen residing in New York and Defendant McClatchey is a United States Corporation with

  significant affiliates and offices within the State of Florida. Further, upon information and belief,

  Defendants Craviatto and Blaskey are both U.S. Citizens and residents of Florida who are

  employed by Defendant McClatchey. The damages sought in this matter are in excess of

  $75,000.00.

         8.      Venue is proper in this Court because Defendant McClatchey has offices in

  Florida, Defendants Craviatto and Blaskey are residents of Florida, and the defamatory

  statements were published in Florida.

                                       BACKGROUND FACTS

         9.      Guo is a Hong Kong citizen who fled from China for fear of political persecution.

  Guo has been the most outspoken and vitriolic critic of the CCP.

         10.     Guo’s willingness to air publicly his political views towards the CCP and Chinese

  government, has led to a backlash by senior members of the CCP and Chinese government

  towards Guo and his family, including, but not limited to, the detention and arrest of Guo’s

  family members and colleagues; and the freezing of Guo’s assets.
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         11.      Two brothers and a niece of Guo were sentenced to imprisonment of three years,

  three years and five months, and two years and six months, respectively. These family members

  remain imprisoned in China.

         12.      Because of the CCP’s political persecution, Guo was forced to leave China and is

  seeking political asylum in the U.S.

         13.      Since his exile, the CCP has seized more than USD30 billion in cash and assets

  owned by Guo’s family and himself.

         14.      Because of Guo’s whistleblower actions, China has gone to extensive lengths to

  silence Guo and have him extradited back to China. These efforts have included:

               a. Requesting that Interpol issue a “red notice” for his arrest based on false

                  accusations;

               b. requesting the chief executives of several large U.S. corporations reach out to

                  President Trump in an effort to convince him to have Guo extradited;

               c. hiring Elliot Broidy, a lobbyist and former chairman of the Republican National

                  Committee, to peddle his influence and convince the Trump Administration to

                  extradite Guo in exchange for a success fee in the millions of dollars payable to

                  Broidy; and

               d. using social media to drum up fake accusations about Guo.

         15.      In another effort to silence Guo, in May 2017, the CCP secretly sent Liu Yanping,

  the then Secretary of Commission for Discipline Inspection, Ministry of National Security of

  China, along with three other agents to New York City to speak with Guo. In exchange for Guo’s

  silence and return to China, the CCP promised to unfreeze his assets and release his family

  members from jail.
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          16.     The congressional U.S. China Economic and Security Commission found that

  Guo has been the target of an unprecedented Chinese government disinformation campaign to

  discredit Guo. 1

          17.     To counter this unprecedented disinformation campaign, Guo has taken to U.S.

  courts in reliance on the rule of law to challenge those who seek to discredit him.

          18.     To wit, Guo has now successfully sued numerous individuals for defamation for

  calling Guo a “spy” for the CCP; a “fraud”; a “liar” and other nefarious terms.

          19.     Specifically, Guo sued Xia Yeliang in the United States District Court for the

  Eastern District of Virginia, for defamation and defamation per se because Xia stated publicly

  that Guo a “spy,” “rapist”, “fraud”, “liar”, and “swindler.” 2 (the “Xia Litigation”). A unanimous

  jury found that these allegations – i.e. that Guo is a Chinese “spy” were false, defamatory and

  defamatory per se, and awarded Guo $100,000 as damage to his reputation.

          20.     Guo also sued Li Hongkuan in the United States District Court for the District of

  Maryland for defamation and defamation per se because Li made multiple public statements that

  Guo is a “rapist, is a communist spy … and is an organized crime leader” (the “Li Litigation”).

  The Court found that these statements were false, defamatory and defamatory per se. 3

                     MIAMI HERALD PUBLISHES DEFAMATORY ARTICLE

          21.     On July 23, 2019, the Miami Herald published an article entitled “He’s a Chinese

  Billionaire and a Member of Trump’s Mar-a-Lago. Is he also a Communist Spy?” 4




  1 https://www.uscc.gov/sites/default/files/Annual_Report/Chapters/Chapter%203%2C%20Section%205%20-
  %20China%27s%20Domestic%20Information%20Controls%2C%20Global%20Media%20Influence%2C%20and%
  20Cyber%20Diplomacy_0.pdf
  2 See Guo Wengui v. Xia Yeliang, 18-cv-174 (E.D.Va.)
  3 See Guo Wengui v. Hongkuan Li, 2019 WL 2288348, *2 (D. Maryland)
  4 https://www.miamiherald.com/news/politics-government/article232973237.html
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          22.     Upon information and belief, this article was also published in print and

  distributed to its subscribers and made available for purchase.

          23.     The article was written by Defendants Craviatto and Blaskey.

         24.     The clear intent of the sensational headline was to grab the attention of the reader,

  without regard for the truth or the harm to Plaintiff Guo.

         25.     Beside the headline, the article itself makes untrue statements and insinuations

  about Plaintiff.

         26.     The article says that Plaintiff Guo “avoided deportation” because he was a

  member of Mar-a-Lago. Clearly implying the Plaintiff was an undesirable who did not deserve to

  be in the United States and that he was in the U.S. illegally.

          27.     This is patently untrue. Defendants offer no substantive support for their

  conjecture because there is none. Plaintiff was not, as the article would have you believe, in the

  U.S. illegally and on the verge of deportation, only to be saved because he paid his dues to Mar-

  a-Lago.

          28.     In truth, Mr. Guo in the United States seeking asylum for the persecution resulting

  from his having spoken out against the corruption rampant in the Chinese Communist Party.

          29.     Further indication of their disregard for the truth, Defendants further state in the

  article that Strategic Vision US, LLC, the entity that initially manufactured this salacious tale,

  had a counterclaim against a company Eastern Profit Corporation Limited and Plaintiff Guo.

          30.     Specifically, the article said that “Strategic filed a counterclaim not only against

  Eastern Profit but also against Guo, alleging he is actually a Chinese government spy …”
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         31.     This statement is demonstrably false. The counterclaim which Defendants

  reference is only asserted against Eastern Profit Corporation Limited, leaving Plaintiff unable to

  defend himself against the allegations.

         32.     The truth is that a counterclaim against Plaintiff Guo was dismissed. A simple

  review of the court docket in the above matter would have shown that the statement was false.

  Either Defendants failed to investigate the statement or intentionally omitted this fact. Either

  constitutes a reckless disregard for the truth.

         33.     Defendant then attempt to “double-down” on their attack on Mr. Guo. Insinuating

  that he is somehow implicated in the recent security concerns at Mar-a-Lago.

         34.     Specifically, Defendants state:

         “The allegations against Guo — that he’s some sort of double agent uncovering real
         dissidents for the Chinese government — come as the FBI continues to investigate
         possible Chinese espionage at Mar-a-Lago. The ongoing federal probe gained new
         momentum when, on March 30, Yujing Zhang, a 33-year-old Chinese national, was
         arrested and charged with trespassing and lying to a federal agent after she tried to enter
         Mar-a-Lago with various cover stories.

         Zhang had initially bought a ticket to an event at Mar-a-Lago that was being promoted by
         South Florida massage parlor entrepreneur Li “Cindy” Yang. The event was canceled
         after the Herald revealed Yang was selling access to the president and his family through
         Mar-a-Lago events that she promoted on Chinese social media. Zhang was aware of the
         cancellation before arriving in Florida. Now, both Zhang and Yang are at the center of
         the broader federal counterintelligence effort in South Florida. Yang is also the focus of a
         separate campaign finance investigation by the Department of Justice.”

         35.     Plaintiff Guo has no association with either Yujing Zhang or LiYang. However,

  Defendants weave their tale in such a way as to implicate Plaintiff with these two individuals

  who have been either arrested or are under investigation, according to Defendants.

         36.     Defendants even go so far as to state that he is “some sort of double agent” and,

  further, implying that he is part of an investigation into Chinese espionage.
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          37.       Defendants intentionally implicate Plaintiff with Zhang and Yang and then state

  that “Zhang and Yang are at the center of the broader federal counterintelligence effort in South

  Florida”.

          38.       Defendants’ reckless intent is to imply that Plaintiff is a subject of this “federal

  counterintelligence effort”.

          39.       Defendants’ insinuation is devoid of truth.

          40.       On the off-chance that any of their readers missed their insinuation, Defendants

  state that “[i]t is unclear whether Guo is in any way involved in the counterintelligence

  investigation.”

          41.       The intent is clear: Create the impression -- albeit untrue --that Plaintiff Guo is

  part of the investigation and has committed espionage.

                            DEFENDANT BLASKEY PARTICIPATES IN
                            CNN’S DEFAMATORY NEWS BROADCAST

          42.       On July 23, 2019, on “OUTFRONT”, hosted by Erin Burnett, CNN broadcast a

  story that lead with the following statement: “New tonight, the Chinese billionaire and member

  of Mar-a-Lago accused of being a spy.”

          43.       The broadcast included further defamatory statements made by Defendant

  Blaskey on behalf of the Miami Herald.

          44.       The entire transcript of the broadcast was posted on the CNN website sometime

  after its conclusion.

          45.       The CNN broadcast went on to make a number of false statements, along with

  various other statements intended to mislead viewers and cast Plaintiff in a negative light.
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         46.      Among these statements, both Burnett and Defendant Blaskey state that Plaintiff’s

  “deportation was halted”, incorrectly implying that Mr. Guo was on the very of being deported,

  and thus, was an “undesirable” person to have in the United States.

         47.      This is patently untrue, Plaintiff was never and has never been on the verge of

  being deported, nor was his deportation “halted” because no deportation process had begun

  which would require it to be “halted”.

         48.      Defendant Blaskey further stated that, “Now, we just found out this past Friday

  from court filings in New York that a company that he partnered with in the past to do a bit of

  research, a U.S. based company, has accused him of trying to gather intel for the Chinese

  government. And so, that allegation is what's new.”

         49.      The “U.S. based company” that Blaskey is referring to is Strategic Vision U.S.,

  LLC (hereinafter, “Strategic Vision”) who filed a counterclaim in New York on the date in

  question.

         50.      In truth, Plaintiff never partnered with and/or contracted Strategic Vision to do

  any research.

         51.      In fact, Strategic Visions claims against Plaintiff in the litigation in New York

  were dismissed because Mr. Guo never had a contract with Strategic Vision.

         52.      Defendant Blaskey could have easily found this information if they reviewed the

  docket of the very same case from which Defendant Blaskey apparently derived her

  (mis)information.

         53.      Further exacerbating the deception, Blaskey states that “It's unclear if federal

  authorities are acting on that information.”
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          54.     Blaskey irresponsibly makes this statement despite having no information one

  way or another, but by making this statement, she implies that Mr. Guo has somehow done

  something illegal that “federal authorities” should “act on”.

          55.      To be clear, and while the assertion does not dignify a response, Mr. Guo is not,

  nor has he ever been a spy for China. To the contrary, he has been an outspoken critic of the

  corruption in the Chinese Government and its ruling communist party. He has publicly vowed

  and contributed much of his considerable wealth, along with his heart and soul, into bringing the

  Rule of Law to China.

          56.     Burnett and Defendant Blaskey then go down a rabbit hole where they discuss a

  woman from China recently arrested trying to sneak into Mar-A-Lago and another woman of

  Chinese descent, Cindy Yang allegedly selling access to President Trump.

          57.     The specific exchange as taken from the transcript posted on cnn.com is below:

          BURNETT: You know, look, it's pretty stunning to imagine the president of the United
          States getting involved with something for -- for anything like this, never mind for this
          sort of reason. But it comes as you've reported on security at the Mar-a-Lago. Under
          heavy scrutiny, right? You had the woman who snuck in who's now maybe a spy.

          You have Cindy Yang, the Florida massage parlor owner, who has appeared there many
          times with the president many times, and with the president many times, accused of
          selling access to Trump and his family through Mar-a-Lago, all of this possibly tied back
          to China.

          BLASKEY: That's right. It's certainly interesting timing for this news to come out.

          Is it politically motivated as Mr. Guo has suggested? Maybe. I think we'll know more and
          obviously, we're going to continue following this story to try to find out what federal
          authorities do know about Mr. Guo if anything, or if he has been caught up in the
          investigation that you mentioned, the ongoing investigation into possible espionage at
          Mar-a-Lago. 5




  5 http://transcripts.cnn.com/TRANSCRIPTS/1907/23/ebo.01.html
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          58.     Clearly, Defendant Blaskey intended to have the viewers associate Mr. Guo with

   the woman arrested sneaking into Mar-a-Lago with malware and Cindy Yang with no factual

   basis to support this implication.

          59.     Further, Defendant Blaskey states that Mr. Guo may have been “caught up in the

   … ongoing investigation into possible espionage at Mar-a-Lago”.

          60.     These statements and implications are also false. Mr. Guo has never met the

   woman arrested breaking into Mar-a-Lago, nor has he had any dealings with Cindy Yang, nor is

   he “caught up” in any investigation or involved in espionage.

          61.     Mr. Guo is simply a long-standing member at Mar-a-Lago, who happens to have

   been born in, and ultimately fled, China.

          62.      In fact, on a number of occasions, Mr. Guo warned the staff at Mar-a-Lago of the

   potential attempts by agents of China to infiltrate the club.

                                          CAUSE OF ACTION
                                        (DEFAMATION PER SE)

          63.     Plaintiff incorporates by reference and realleges each and every allegation

   contained in paragraphs “1” through “62”, as though fully set forth herein.

          64.     In the CNN broadcast on July 23, 2019 and in the article in the Miami Herald,

   Defendant Blaskey, on behalf of herself and the Defendant McCatchey published untrue

   statements about Plaintiff, including stating that Mr. Guo was going to be deported and had

   committed espionage.

          65.     Espionage is a serious federal crime pursuant to the Espionage Act of 1917.

          66.     Similar statements made against Mr. Guo are demonstrably false and have, in

   fact, been ruled to be defamatory in two separate courts.
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          67.       To enhance their “story”, Defendant Blaskey falsely stated that it was “former

   partners” who were the source of their (mis)information.

          68.       Mr. Guo has never been partners with or entered into a contract with Strategic

   Visions.

          69.       To further embellish their story, Defendant Blaskey, again, on behalf of the

   Miami Herald, made statements that insinuated that Mr. Guo was associated with the woman

   arrested sneaking into Mar-a-Lago with malware and Cindy Yang who has been accused of

   selling access to Mar-a-Lago and President Trump.

          70.       Defendant Blaskey further implied that Mr. Guo was “caught up” in a federal

   investigation.

          71.       Defendants Blaskey and McCatchey knew or should have known that the

   statements were false, as even a cursory review of court records would have shown Defendants

   statements to be false.

          72.       Further, even a modicum of due diligence would have shown the falsity of these

   statements.

          73.       Instead, with a reckless disregard for the truth, Defendants made the above false

   statements, causing harm to Plaintiff, all for the sake of potential increased viewership.

                                             PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs request entry of Judgment in their favor and against

   Defendants as follows:

          A. That Defendants be held liable for the damages sustained by Plaintiff as a result of the

                 claims asserted herein in an amount to be determined at trial, but estimated to be not

                 less than $50 million;
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          B. That Defendant McCatchey must remove the story from any online and physical

              publications and must publish a retraction of the false claims against Plaintiff on the

              front page of their website and physical publications;

          C. Such other relief as the Court deems necessary and proper.

                                         DEMAND FOR JURY

          Plaintiff demands a jury trial on all issues so triable by a jury.

   Dated this 2nd day of August, 2019.


                                                  Respectfully submitted,


                                                  By its attorneys,
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